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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                              SAVANNAH DIVISION


 WILLIAM MCCOLLOUGH,

               Plaintiff,                                CIVIL ACTION NO.: 4:21-cv-117

        v.

 CHATHAM COUNTY,

               Defendant.


                                          ORDER

       After a careful de novo review of the entire record, the Court concurs with the Magistrate

Judge's August 26, 2021, Report and Recommendation, (doc. 6), to which plaintiff has not filed

an objection. The Court ADOPTS the Report and Recommendation as its opinion. For the

reasons discussed by the Magistrate Judge, the Complaint, (doc. 1), is DISMISSED. The Clerk

of Court is DIRECTED to CLOSE this case.

       SO ORDERED, this 3rd day of November, 2021.




                                     R. STAN BAKER
                                     UNITED STATES DISTRICT JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
